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17                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF ARIZONA
18

19
     United States of America,                     NO. CR-18-00422-PHX-DJH
20
                              Plaintiff,           DEFENDANTS’ MOTION FOR LEAVE
21   vs.                                           TO FILE BRIEF IN EXCESS OF PAGE
                                                   LIMITS
22
     Michael Lacey, et al.,
23
                              Defendants.
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             Case 2:18-cr-00422-DJH Document 2008 Filed 12/04/23 Page 2 of 4




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 1           Defendants Michael Lacey, Scott Spear, and John Brunst move, by and through their
 2   undersigned counsel, for leave to file their Motion for a New Trial in excess of the page
 3   limits. Rather than file three separate briefs, with joinders in each co-Defendants’ individual
 4   brief, which could total as many as 51 pages, Lacey, Spear, and Brunst filed one streamlined,
 5   joint brief to address all joint-defense issues, which is 19 pages. Although the joint brief
 6   exceeds the page limit for a single brief by two pages, it is far less than the 51 pages they
 7   could have briefed individually. For this reason, Defendants respectfully request leave to file
 8   their proposed joint Motion for a New Trial.
 9

10           RESPECTFULLY SUBMITTED this 4th day of December, 2023,
11
                                               Paul J. Cambria, Jr.
12
                                               Erin McCampbell Paris
13                                             LIPSITZ GREEN SCIME CAMBRIA LLP
14                                             By:      /s/ Paul J. Cambria, Jr.
15                                                      Paul J. Cambria, Jr.
                                                        Attorneys for Michael Lacey
16
     Pursuant to the District’s Electronic Case Filing Administrative Policies and Procedures Manual (Jan.
17
     2020) § II (C) (3), Paul J. Cambria hereby attests that all other signatories listed, and on whose behalf this
18   filing is submitted, concur in the filing’s content, and have authorized its filing.
19
                                               Gary S. Lincenberg
20                                             Gopi K. Panchapakesan
21
                                               BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
                                               DROOKS, LINCENBERG & RHOW, P.C.
22
                                               By:      /s/ Gary Lincenberg
23                                                      Gary Lincenberg
24                                                      Attorneys for John Brunst

25                                             Eric W. Kessler
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27                                             By:      /s/ Eric W. Kessler
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28                                                      Attorneys for Scott Spear

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             Case 2:18-cr-00422-DJH Document 2008 Filed 12/04/23 Page 4 of 4




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     On December 4, 2023, a PDF version of this document was
 9   filed with Clerk of the Court using the CM/ECF System
     for filing and for Transmittal of a Notice of Electronic
10   Filing to the to the CM/ECF registrants who have
     entered their appearance as counsel of record
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